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                                         January 3, 2019
Via ECF
The Honorable Kevin McNulty
United States District Judge
District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07101

        Re:       Keller v. Ashton, et a!. Galena Biophanna
                                       —                           -,   -   -        on No.: I 7-cv-01777 and
                  Johnson v. Schwartz eta!., Civil Actio o. 2:1 8cv903          /




Dear Judge McNulty:

        We represent Plaintiff Keller in the above-referenced derivative action, No. 17-cv-01777.

Pursuant to the request of your Clerk, we write to clarify our request to withdraw a previously filed

motion to consolidate found at Docket Entry Nos. 25 and 26. The motion to consolidate concerned this

action and a second, later filed derivative action, captioned Johnson v. Schwartz, et aL, Civil Action

No.:18-cv-00903. The Johnson action is brought against many of the same defendants and raises

similar issues but focuses on a differently constituted board of directors.

        The undersigned’s office has conferred with Counsel for Plaintiff Johnson and upon fiffiher

reflection, both sets of Plaintiffs have agreed that the second derivative action should not be

consolidated with Plaintiff Keller’s derivative action.      Defendants will not be prejudiced by the

withdrawal of the motion as they have not yet responded to it and in fact have been granted several

extensions of time in order to evaluate their position, see Docket Entry Nos. 27, 28, 29 and 30.
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       Therefore, the Plaintiffs hereby withdraw their Motion to Consolidate (liE. 25, 26) the two

actions in the second later filed action, Johnson v. Schwartz eta!., Civil Action No. 2:l8cv9O and the

motion should be marked withdrawn on both dockets.

                                       Respectfully submitted,

                               GAINEY




cc: All Counsel of Record (via ect)

                                                                              (E7                 /cVQ3)
                                                                                    ccev4i




                                                       sojtcx
                                                       Kevin McNuhy U.S.D.A.
                                                       Date
